                   Case 23-11069-CTG       Doc 1104     Filed 11/09/23      Page 1 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          Chapter 11
In re:
                                                          Case No. 23-11069 (CTG)
YELLOW CORPORATION, et al.,1
                                                          (Jointly Administered)
                           Debtors.
                                                          Obj. Deadline: Nov. 9, 2023 at 4:00 p.m. (ET)
                                                          Hearing Date: Dec. 12, 2023
                                                          Re: Docket No. 968

    RESPONSE AND RESERVATION OF RIGHTS OF EXOL PROPERTIES, L.L.C. AND
    ORANGE BATAVIA I LLC TO DEBTORS’ NOTICE OF POTENTIAL ASSUMPTION
     OR ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES
             ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

           Exol Properties, L.L.C. (“Exol”) and Orange Batavia I LLC, (“Orange Batavia,” and

collectively with Exol, the “Responding Landlords”), by and through their undersigned counsel,

submit this response and reservation of rights (the “Response”) to the Notice of Potential

Assumption or Assumption and Assignment of Certain Contracts or Leases Associated With the

Non-Rolling Stock Assets [D.I. 968] (the “Assumption Notice”),2 as follows:

I.         FACTUAL AND PROCEDURAL BACKGROUND

           1.       On August 6, 2023 (the “Petition Date”), each of the above captioned debtors and

debtors in possession (the “Debtors”) filed a voluntary petition for relief under chapter 11 of the

Bankruptcy Code. These chapter 11 cases have been consolidated for procedural purposes only

and are being jointly administered pursuant to Bankruptcy Rule 1015(b) [D.I. 169]. Debtors are




1
           A complete list of each of the Debtors in these chapter 11 cases may be obtained on the
           website of the Debtors’ claims and noticing agent at http://dm.epiq.com/Yellow
           Corporation. The location of Debtors’ principal place of business and the Debtors’ service
           address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park,
           Kansas 66211.
2
           Capitalized terms not otherwise defined shall have the same meaning as set forth in the
           Assumption Notice.



4853-8834-1390.1
                   Case 23-11069-CTG       Doc 1104       Filed 11/09/23   Page 2 of 8




managing their businesses and their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. On August 16, 2023, the United States Trustee for the

District of Delaware (the “U.S. Trustee”) appointed an official committee of unsecured creditors

[D.I. 269]. No trustee or examiner has been appointed in these chapter 11 cases.

           2.       Responding Landlords are the lessors under unexpired nonresidential real property

leases with debtor USF Reddaway Inc. (“Tenant”), as lessee, for freight terminal properties as

follows: (1) Exol is the landlord with respect to the real property located at 1405 North Olive

Avenue, Meridian, Idaho, and (2) Orange Batavia is the landlord with respect to the real property

located at 2200 North Batavia, Orange, California.

           3.       On September 15, 2023, the Court entered its Order (I)(A) Approving the Bidding

Procedures For the Sale or Sales of the Debtors’ Assets, (B) Scheduling Auctions and Approving

the Form and Manner of Notice Thereof; (C) Scheduling Sale Hearings and Approving the Form

and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear

of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption and Assignment

of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [D.I. 575] (the

“Bidding and Sale Procedures Order”).

           4.       On October 26, 2023, the Debtors filed and served their Notice of Assumption.

Debtors’ leases with Responding Landlords are both identified as among the “Potential Non-

Rolling Stock Asset Assumption List,” Schedule 1 to the Notice of Assumption.




4853-8834-1390.1                                    -2-
                   Case 23-11069-CTG       Doc 1104       Filed 11/09/23   Page 3 of 8




II.        ARGUMENT

           A.       Debtors Must Cure All Existing Defaults, Or Provide Adequate Assurance Of
                    A Prompt Cure, As A Condition To The Assumption And Assignment Of Its
                    Leases

           5.       Bankruptcy Code section 365(b)(1)(A) provides that unless a lessee-debtor either

(a) cures all existing defaults or (b) provides the lessor with adequate assurance that it will

promptly cure those defaults, it cannot assume and assign a lease. As one court has held,

“Section 365(b)(1) is intended to provide protection to the non-debtor lessor to insure that he

receives the full benefit of his bargain in the event of assumption.” In re Bon Ton Restaurant &

Pastry Shop, Inc., 53 B.R. 789, 793 (Bankr. N.D. Ill. 1985); accord, In re Valley View Shopping

Center, L.P., 260 B.R. 10, 25 (Bankr. D. Kan. 2001); In re Mushroom Transportation Co., Inc.,

78 B.R. 754, 759 (Bankr. E.D. Pa. 1987). Indeed, “the cost of assumption is nothing short of

complete mutuality and requires performance in full as if bankruptcy had not intervened.” In re

Frontier Properties, Inc., 979 F.2d 1358, 1367 (9th Cir. 1992). Bankruptcy Code

section 365(b)(1)(A) “clearly and unambiguously” requires the cure of all defaults before an

unexpired lease of nonresidential real property may be assumed. In re Building Block Child Care

Centers, Inc. (9th Cir. BAP 1999) 234 B.R. 762, 765; accord, In re Fifth Taste Concepts Las Olas,

LLC, 325 B.R. 42, (Bankr. S.D. Fla. 2005) (“The purpose of § 365(b)(1)(A) is to preserve the

entirety of an unexpired lease upon assumption and cure any defaults.” [emphasis in original]).

           6.       Debtors bear the burden of proving the requirements of Bankruptcy Code

section 365(b) by a preponderance of the evidence. See In re PRK Enterprises, Inc., 235 B.R. 597,

602 (Bankr. E.D. Tex. 1999).




4853-8834-1390.1                                    -3-
                   Case 23-11069-CTG      Doc 1104       Filed 11/09/23   Page 4 of 8




           Monetary Defaults:

           7.       Debtors’ Assumption Notice acknowledges the obligation to pay “Cure Amounts,”

setting forth in the “Real Property Lease Cure Schedule” that amounts asserted to be due to satisfy

the “cure” requirement for each of the Responding Landlords. However, Debtors provide no

itemization or detail as to the asserted amounts. The Cure Amounts with respect to Debtors’ leases

with Responding Landlords are summarized below and, if different, are detailed in the account

summaries attached hereto as Exhibit A.

  Lease Cure                                                          Debtors’   Landlord’s
                        Landlord/Property Address
  Schedule #                                                          Amount     Amount
        52              Exol Properties, L.L.C., 1405 North Olive     $27,960.00   $59,746.53
                        Avenue, Meridian, Idaho
           109          Orange Batavia I LLC, 2000 North Batavia      $73,756.00        $89,968.78
                        Street, Orange, California

           8.       The current Cure Amounts asserted by Responding Landlords do not, however,

include rent and charges that may accrue after November 9, 2023.                   Bankruptcy Code

section 365(b)(1) measures defaults as of the “time of assumption.” See, e.g., In re Rachels

Industries, Inc., 109 B.R. 797, 811-12 (Bankr. W.D. Tenn. 1990). Debtors remain required to pay

accruing post-petition rent and charges on a timely basis, as required by Bankruptcy Code

section 365(d)(3) and Responding Landlords reserve their respective rights and remedies against

Debtors with respect to such additional sums.

           Nonmonetary Defaults

           9.       By its terms, Bankruptcy Code section 365(b)(1) is not limited to monetary

obligations. See, e.g., In re Old Market Group Holdings, Inc., 647 B.R. 104, 113-14 (Bankr.

S.D.N.Y. 2022); In re Rachels Indus., Inc., 109 B.R. at 811-12. “A default exists under [Section

365] whenever the debtor has failed to perform its obligations under its contract or lease, regardless

of whether that failure amounted to a default as defined by the contract or lease” and regardless of




4853-8834-1390.1                                   -4-
                   Case 23-11069-CTG        Doc 1104       Filed 11/09/23   Page 5 of 8




whether a contractual notice of default was previously served. In re Old Market Group Holdings,

Inc., 647 B.R. at 114-15.

           10.      Debtors’ April 1, 2010 Lease Agreement with Exol (the “Exol Lease”) provides, in

pertinent part, that “Tenant at its cost shall maintain, and repair in a good and safe operating

condition, all portions of the Leases Premises, including but not limited to all of the structural and

non-structural elements of the Premises.” (Exol Lease § 10.)

           11.      Based on a recent inspection (on October 19, 2023) of the Meridian, Idaho premises

by Exol and Debtors, there are numerous deferred maintenance items at the premises in need of

maintenance, replacement, or repair. A summary of these items, and accompanying photographs,

is attached hereto as Exhibit B. These repair and maintenance issues must be cured, or Exol

provided with adequate assurance of a prompt cure, in connection with any assumption or

assumption and assignment of the Exol Lease.

           12.      The Meridian, Idaho premises contains an underground storage tank (“UST”),

which is over 30 years old, and related fueling system, used in the operation of the motor freight

terminal at the property. Section 22(b) of the Exol Lease provides, in pertinent part, that “[d]uring

the Term, any such generation, treatment, storage or disposal of any Hazardous Substances by

Tenant shall be in compliance with all environmental requirements, other Laws and this

Lease . . . .” Similarly, Section 7 of the Exol Lease provides that “Tenant shall not use or occupy,

or permit the Premises to be used or occupied in any manner that would in any way violate any

applicable Laws now in effect or hereinafter adopted by any governmental authority having

jurisdiction.”

           13.      Debtors, notwithstanding multiple requests, has not provided Exol with sufficient

documentation or other evidence demonstrating that the UST and fueling system are in compliance




4853-8834-1390.1                                     -5-
                   Case 23-11069-CTG        Doc 1104       Filed 11/09/23   Page 6 of 8




with applicable laws and regulations. Exol is informed and believes that, due to the lack of

historical documentation regarding inspections and the operational status of the UST and fueling

system, the continued presence of the UST and fueling system is contrary to the terms of the Exol

Lease. This condition must be remedied as a condition to any assumption, or assumption and

assignment, of the Exol Lease.

           Attorneys’ Fees:

           14.      Where, as here, there are defaults under leases sought to be assumed and assigned,

Bankruptcy Code section 365(b)(1) comes into play. Debtors’ Leases with Responding Landlords

contain provisions for the recovery of attorneys’ fees in the event of defaults under the respective

lease. Bankruptcy courts have held that attorneys’ fees incurred in the enforcement of obligations,

covenants and conditions of a lease are recoverable as part of a landlord’s “pecuniary loss” under

Bankruptcy Code section 365(b)(1)(B) due upon assumption and assignment of a lease if the

underlying lease provides for them. In re Entm’t, Inc., 223 B.R. 141, 152 (Bankr. N.D. Ill. 1998).

“Although attorneys’ fees are not independently recoverable under the Bankruptcy Code,

section 365(b)(1)(B) allows for such recovery if based upon the existence of a separate agreement

between the parties.” In re Child World, Inc., 161 B.R. 349, 353 (Bankr. S.D.N.Y. 1993); see also

Travelers Casualty & Surety Co. v. Pacific Gas & Electric Co., 127 S.Ct. 1199, 1203-06 (2007)

(contract providing for attorneys’ fee recovery enforceable in bankruptcy unless Bankruptcy Code

specifically provides otherwise); In re Crown Books Corp., 269 B.R. 12, 18 (Bankr. D. Del. 2001)

(landlord’s attorneys’ fees incurred in proving post-petition rent had not been recoverable as

component of cure under Section 365(b)(1)). “[T]here is no logical distinction, for purposes of

§365, between claims for attorney’s in connection with pre-petition defaults and such claims in

connection with post-petition defaults.” In re Entm’t, Inc., 223 B.R. at 154. The Responding




4853-8834-1390.1                                     -6-
                   Case 23-11069-CTG        Doc 1104       Filed 11/09/23    Page 7 of 8




Landlords’ attorneys’ fees, which currently are in excess of $4,000.00 in the aggregate, are

ongoing. Responding Landlords each reserve the right to supplement this Response to provide

such further attorneys’ fees information as may be requested by Debtors.

III.       RESERVATION OF RIGHTS

           15.      Responding Landlords fully reserve their respective rights to (a) further supplement

or amend this Response and assert any additional objections, including any additional obligations

that may arise under Debtors’ leases with Responding Landlords in the ordinary course of business,

(b) further object to any proposed assumption, or assumption and assignment of their leases with

Debtors, including any objection based on the failure of Debtors or any proposed assignee to

demonstrate adequate assurance of future performance, as required by Bankruptcy Code Section

365(b)(1)(C) and (f)(2)(B), and (c) further object on additional grounds based upon any new

information provided by Debtors or upon any different relief requested by Debtors.

IV.        CONCLUSION

           16.      For the foregoing reasons, Responding Landlords request that their cure objection

be sustained. Among other things, the assumption, or assumption and assignment of each of

Debtors’ leases with Responding Landlords must be conditioned on the prompt cure of existing

monetary and nonmonetary defaults asserted by Responding Landlords, and payment of

Responding Landlords’ reasonable attorneys’ fees.




4853-8834-1390.1                                     -7-
                   Case 23-11069-CTG   Doc 1104     Filed 11/09/23   Page 8 of 8




Dated: November 9, 2023                    Respectfully submitted,
Wilmington, Delaware
                                           /s/ Laurel D. Roglen
                                           Leslie C. Heilman (DE 4716)
                                           Laurel D. Roglen (DE 5759)
                                           Nicholas J. Brannick (DE 5721)
                                           Margaret Vesper (DE 6995)
                                           BALLARD SPAHR LLP
                                           919 North Market Street, 11th Floor
                                           Wilmington, DE 19801-3034
                                           Tel: (302) 252-4465
                                           Fax: (302) 252-4466
                                           Email: heilmanl@ballardspahr.com
                                                   roglenl@ballardpshar.com
                                                   brannickn@ballardspahr.com
                                                   vesperm@ballardspa

                                              and

                                           Michael S. Greger, Esquire
                                           ALLEN MATKINS LECK GAMBLE
                                             MALLORY & NATSIS LLP
                                           2010 Main Street, 8th Floor
                                           Irvine, California 92614-7214
                                           Tel: (949) 553-1313
                                           Fax: (949) 553-8354
                                           Email: mgreger@allenmatkins.com

                                              and

                                           Ivan M. Gold, Esquire
                                           ALLEN MATKINS LECK GAMBLE
                                            MALLORY & NATSIS LLP
                                           Three Embarcadero Center, 12th Floor
                                           San Francisco, CA 94111
                                           Telephone: (415) 837-1515
                                           Facsimile: (415) 837-1516
                                           E-mail: igold@allenmatkins.com

                                           Attorneys for Exol Properties, L.L.C. and Orange
                                           Batavia I LLC




4853-8834-1390.1                              -8-
